                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



IN RE: E. I. DU PONT DE NEMOURS AND                 CASE NO. 2:13-MD-2433
COMPANY C-8 PERSONAL INJURY
LITIGATION

                                                    JUDGE EDMUND A. SARGUS, JR.
                                                    Magistrate Judge Elizabeth P. Deavers


This document relates to: ALL ACTIONS.


                  PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
             MOTION FOR PARTIAL SUMMARY JUDGMENT UNDER
         RULE 56 OR FOR DETERMINATION OF ISSUES UNDER RULE 16(C)

                                    I.      INTRODUCTION

       Plaintiffs, through Co-Lead Counsel, submit this memorandum in support of their Motion

for Partial Summary Judgment under Rule 56 or For Determination of Issues under Rule 16(c) to

facilitate the just, speedy, and inexpensive disposition of these proceedings. As explained below,

more than ten years of prior discovery, motion practice, and other proceedings during the first

phase of this and related litigation has resulted in the resolution of many facts and issues relevant

to these Multi-District Litigation proceedings (the “MDL”). Thus, to avoid the unnecessary,

duplicative, and wasteful expenditure by the parties and the Court of time and resources on any

such matters moving forward, Plaintiffs request that the Court issue an Order, pursuant to Civil

Rule 56 or, in the alternative, pursuant to Civil Rule 16(c), clarifying the status of such matters as

set forth below.
       II.     PROCEDURE FOR COLLATERAL ESTOPPEL DETERMINATION

        Plaintiffs seek relief, in the alternative, pursuant to Civil Rules 56 and 16(c). Rule 56(a)

specifically provides that: “A party may move for summary judgment, identifying each claim or

defense – or the part of each claim or defense – on which summary judgment is sought.” Fed. R.

Civ. P. 56 (a) (emphasis added). Rule 56(g) states that if a court considers a summary judgment

motion but does not grant it in its entirety, so that a trial is necessary, the court may “enter an

order stating any material fact … that is not genuinely in dispute and treating the fact as

established in the case.” See Doe v. Am. Nat’l Red Cross, 848 F. Supp. 1228 n. 1 (S.D.W.Va.

1994) (citations omitted); Neb. Pub. Power Dist. v. Gen. Elec. Co., 1979 WL 3949 (D. Neb.

1979); see also 18 James Wm. Moore, et. al, Moore's Federal Practice ¶ 132 at 132-1 (Matthew

Bender 3d ed.) (“Whether raised offensively or defensively, issue preclusion questions may be

resolved by summary judgment.”). Rule 16(c) provides that a court may “take appropriate

action” with regard to “formulating and simplifying the issues” and “avoiding unnecessary proof

and cumulative evidence.” Fed. R. Civ. P. 16(c). Rule 16(c) makes clear that, even if a court

prefers not to grant partial summary judgment, it may nonetheless take other action to simplify

the issues in the case. Here, if the Court does not wish to grant partial summary judgment, it

could still significantly simplify the issues in this case by entering Plaintiffs’ proposed order

estopping DuPont from taking a second bite at the apple and relitigating issues that it litigated -

and lost – in the prior phase of this litigation.

                      III.    FACTUAL/PROCEDURAL BACKGROUND

        A.      The Current MDL Arises From The 2005 Settlement Of A Class Action Filed
                in West Virginia State Court in 2001 Involving These Same Parties And
                Claims.

        This MDL is the second phase of litigation first brought against DuPont over a decade

ago over DuPont’s contamination of drinking water supplies with the toxic, carcinogenic


                                                    2
chemical known as “C8.” The original case, Leach v. E. I. du Pont de Nemours & Co., No. 01-

C-698 (Wood County W. Va. Cir. Ct.) (“Leach Case”), was filed as a class action on August 31,

2001, in West Virginia state court. The original class action complaint included claims that

DuPont was liable under a variety of West Virginia common law tort theories for equitable,

injunctive and declaratory relief, along with compensatory and punitive damages, as a result of

drinking water contamination. 1 (Aff. of Robert A. Bilott in Support (“Bilott Aff.”) Ex. A (Leach

complaint)).

         On April 10, 2002, the West Virginia trial court (the “Leach Court”) certified the case to

proceed as a mandatory, non-opt-out class action against DuPont with respect to “all common

fact and legal issues relating to [DuPont’s] underlying liability for all claims in this case,”

including the class members’ claims for personal injury, wrongful death, and “liability for

punitive damages,” and “all fact and legal issues relating to Plaintiffs’ claims for equitable,

declaratory, and injunctive relief, including medical monitoring” (the “Common Issues”). Leach

v. E. I. du Pont de Nemours & Co., 2002 WL 1270121 (Wood County W. Va. Cir. Ct. April

2002) (attached to Bilott Aff. Ex. C.)

         With respect to all non-Common Issues in the case, the Leach Court specifically “stayed

and reserved” for “litigation after resolution of the common Class issues,” all “matters requiring

individualized proof of damages, including each class member’s specific personal injuries” and

“all damage issues involving any determination of individual harm of the Class members and the

amount of any punitive damages” and “the calculation of individual damages of the individual

Class members.” (Bilott Aff. Ex. C at 1, 27.)



1
  The original Leach litigation resulted from an even earlier case filed against DuPont in West Virginia federal court
in 1998, styled Tennant v. E.I. du Pont de Nemours & Co., Inc., No. 6:99-0488 (S.D. W.Va.), during which C8
contamination of certain area drinking water supplies was first uncovered. (Bilott Aff. Ex. B.)


                                                          3
       After three years of vigorously-contested litigation, involving extensive discovery and

motion practice, including three issues taken to the West Virginia Supreme Court of Appeals, the

parties entered into a class-wide settlement in November 2004, through a written settlement

agreement that was freely negotiated, drafted, and executed by the parties (the “Leach

Settlement”). (Id. Exs. D, E.) Following appropriate class-wide notice, objection opportunities,

full opt-out opportunities, and a final fairness hearing, the Leach Court entered a final order

approving the Leach Settlement on February 28, 2005 (the “Final Order”). (Id. Ex. E.) No party,

including DuPont, ever disputed that the Leach Court had jurisdiction to resolve such matters on

behalf of any party, or disputed that the Leach Court retained jurisdiction over matters falling

within the scope of the settlement. (Id. Ex. Q (DuPont’s lead counsel in the Leach Case confirms

that the Leach “Court had authority to approve the Settlement Agreement, which in essence is a

contract between the Class Members and DuPont” and that the Leach “Court has retained

jurisdiction over this matter to enforce the terms of that Agreement when necessary.”)) Because

no portion of the Final Order was appealed by anyone, it became “Final” under the terms of the

Leach Settlement later in 2005. (Id. Ex. D § 1.23.)

       Under the final Leach Settlement, the parties agreed that certain class-wide claims

(defined in the agreement as “Initial Released Claims”) would be immediately released and

dismissed with prejudice, upon final approval of the settlement, in exchange for certain initial,

class-wide benefits to be provided by DuPont. (Id. Ex. D § 3.2.) With respect to the remaining

claims, which included the class members’ claims for “personal injury and wrongful death” and

“punitive and any other damages whatsoever associated with such claims,” the parties agreed

that any final resolution of those claims (defined in the settlement agreement as “Conditionally

Released Claims”) would be stayed and that any applicable statutes of limitations would




                                                 4
continue to be tolled pending an independent “scientific” resolution of certain common issues

impacting all such claims. (Id. Ex. D §§ 3.3, 6.)

         More specifically, the parties agreed that, rather than proceed to trial on any of the

remaining Conditionally Released Claims and force a lay jury to try to choose between

competing evidence/experts on the highly complex, scientific issue of whether C8 is capable of

causing serious disease in humans at the dose/exposure levels actually experienced by the class

members, the parties would submit the matter to a jointly-selected, independent panel of three

epidemiologists (the “C8 Science Panel”) for resolution.2 The Science Panel’s independent,

science-based decision on the matter would be final and binding on all parties for purposes of

eventual resolution of all Leach Class Members’ Conditionally Released Claims. (Id. Ex. D §§ 3,

12, Ex. Q.) The parties further agreed that, until such time as the Science Panel resolved those

issues – in the form of final determinations as to whether any “probable links” exist between

“exposure to C-8 and a particular Human Disease among Class Members”3 - all Leach Class

Members would be barred from attempting to pursue any final resolution of their Conditionally

Released Claims, as originally asserted through the Leach Case class complaint. (Id. Ex. D §§ 3,

6.) The parties further agreed that, when the final “probable link” determinations were released

by the Science Panel, all the Class Members’ remaining Conditionally Released Claims would be

released at that time, and dismissed with prejudice, except for “those Conditionally Released

Claims in which the specific Human Disease(s) for which a Probable Link Finding has been

delivered is/are at issue” (hereinafter “Linked Disease PI Claims”). (Id. Ex. D § 3.3.) As for

those remaining Linked Disease PI Claims, the parties further agreed that the conditional release


2
   See Bilott Aff. Ex. Q (DuPont’s counsel confirms that “the parties elected to remove this complex scientific
question from the courtroom where it would be decided by lay people sitting on a jury. We elected to put the
question to epidemiologists….”).
3
  Id., Ex. D § 1.49 (defining “Probable Link”).


                                                          5
set forth in Section 3.3 of the Leach Settlement would never become effective, and Class

Members would be free to “pursue” the final resolution of those claims against DuPont, once the

final “probable links” were identified. (Id. Ex. D §§ 3.3, 6.)

       In addition, the parties specifically agreed that, if “probable links” were found, DuPont

would be forever barred from disputing “General Causation” between C8 and any such “linked”

disease with respect to any Leach Class Member’s remaining Linked Disease PI Claims,

preserving only the right to challenge “Specific Causation and damages as to any individual

Class member” and those other “defenses not barred by” the Leach Settlement. (Id. Ex. D § 3.3.)

“General Causation” is expressly defined in the Leach Settlement to “mean that it is probable

that exposure to C-8 is capable of causing” the “linked” disease(s). (Id. Ex. D § 1.25.) “Specific

Causation” is defined to mean “that it is probable that exposure to C-8 caused a particular

[“linked” disease] in a specific individual.” (Id. Ex. D § 1.60.)

       Incorporated within the scope of “General Causation” issues resolved by any “probable

link” finding by the Science Panel is the issue of whether any Leach Class Member had a

sufficient threshold exposure to or “dose” of C8 to cause the “linked” disease. DuPont has never

disputed that C8 is capable of causing some type of harm to humans at some level of exposure.

(Id. Exs. R at 54 (RFAs 147-148), S at 24, U at 18.) Rather, what was disputed was whether C8

could cause any such harm to humans at a specific exposure/dose levels. According to DuPont,

there can be no finding of “General Causation” without necessarily establishing the dose at

which such harm could occur. As DuPont stated to a federal court in West Virginia in a related

Prior Action, “[r]eliable science necessarily incorporates dose when assessing whether a

substance is capable of causing harm (general causation) . . . dose is a necessary consideration

fundamental to any general causation opinion.” (Id. Ex. V at 9.) Thus, according to DuPont,




                                                  6
“General causation is the scientific determination as to whether or not the chemical in question is

capable of causing a particular condition in the general population at some specified dose.” (Id.

Ex. T at 6.) (emphasis added).

       Consequently, when defining the “probable link” that would be sufficient to satisfy

DuPont that “General Causation” had been resolved for these plaintiffs, the parties agreed that

there could be no “probable link” to any such disease(s), unless the “link” is found by the

Science Panel to exist “among Class Members.” (Id. Ex. D § 1.49.) (emphasis added) “Class

Members” are expressly defined by the parties to include only those individuals who consumed

water for at least one year from water supplies contaminated with a minimum exposure level or

“dose” of 0.05 part per billion (“ppb”) or more of C8. (Id. Ex. D § 2.1.1.) Thus, by limiting the

Science Panel to finding only those “probable links” that actually exist “among Class Members,”

the parties insured that only “links” existing among persons with the minimum exposure/dose

level of C8 required to be a Leach Class Member could serve as the basis for any Leach Class

Member Linked Disease PI Claims to move forward. (Id. Ex. U at 7-8) (DuPont explains to

federal court in related C8 Prior Action that the “Science Panel will . . . make a determination of

whether it is more likely than not that PFOA exposure at the levels experienced by residents of

communities in West Virginia and Ohio is capable of causing serious latent disease”) (emphasis

added); id. Ex. Q (“DuPont agreed to resolve this case through this novel settlement because the

Science Panel would offer a scientific answer to the important fundamental question: Is PFOA

exposure as experienced by the class capable of causing serious latent disease?”) (emphasis

added); id. Ex. W at 40-41 (DuPont’s lead counsel in Leach explains during final fairness

hearing that Science Panel will resolve “the heart of the question of whether C8 is related to or

causes any human disease in this community with the C8 at the levels that it is in the water.”)




                                                 7
(emphasis added). Consequently, as long as an individual qualifies as a “Class Member,” the

individual, by definition, necessarily has the requisite minimum dose/exposure to C8 sufficient

for the existence of any “probable links” ultimately found by the Science Panel.

       With respect to the scope of Leach class membership, the parties agreed that “Class

Members” include those described within Section 2.1.1 of the Leach Settlement who had not

“opted out” of the class or waived their class membership through the procedures set forth in that

agreement. (Id. Ex. D at § 1.11.) Those individuals who had either opted out or had chosen to

waive their Class Member status were all specifically identified by the time the Leach Settlement

was approved. (Id. Exs. F, E at 9-10.) Through written notice to the Class Members, reviewed

and approved by the Leach Court, the parties confirmed that individuals qualify as Leach Class

Members if they have, for at least one year prior to December 4, 2004, consumed water from any

one or more of six specified public water supplies or certain specifically-identified private water

sources in which C8 had been detected at or above 0.05 ppb. (Id. Exs. G, H) A list of those

qualifying private water sources was prepared to assist in Class Member identification. (Id. Ex.

P.)

       Upon entry of the Leach Court’s Final Order on February 28, 2005, the Leach Class

Members’ “Initially Released Claims” were “dismissed with prejudice,” with the Court holding

that the remaining Conditionally Released Claims of the Class Members would be dismissed “if,

and only if the conditions for release of such claims set forth in Section 3.3 of the Settlement are

met.” (Id. Ex. E at 12.) As noted above, Section 3.3 provides that no such claims would be either

released or dismissed unless and until the Science Panel found no “probable link” sufficient to

allow the claims to move forward. (Id. Ex. D § 3.3.) The Leach Court did not decertify any

aspect of the class issues affecting the remaining Linked Disease PI Claims that it had certified




                                                 8
for class treatment in its original class certification order from 2002, nor have the parties

requested any such decertification since entry of the Final Order or release of the final “probable

link” determinations. (Id. Exs. D, E.)

        With respect to what aspects of the remaining Linked Disease PI Claims would remain

for litigation between the parties once the “probable link” issues were resolved, the Leach Court

noted in its Final Order that it understood the terms of the settlement to eliminate the need for the

Class Members “to wait for the uncertain outcome of a lengthy trial nor face the possibility of no

recovery,” because the “terms of the Settlement adequately address any claims by Class

Members for personal injury … in the event that the Science Panel finds a Probable Link.” (Id.

Ex. E at 7.) Moreover, the Leach Court expressly found that, upon approval of the Leach

Settlement, there would be “no remaining issues to be litigated in this matter, as the Settlement

sets forth adequately the agreed upon mechanism to determine whether . . . some Class Members

may pursue individual claims against DuPont.” (Id. Ex. E at 11.) Neither the Leach Settlement

nor the Leach Court’s final approval Order redefined or changed the manner in which the Court

characterized what were “individual” versus class-wide claims/issues in its original class

certification order from 2002. The Leach Court did, however, retain jurisdiction over any

remaining class-wide issues under the Leach Settlement, and continues to oversee Leach class

issues to this day. (Id. Exs. E at 12, D § 14.2, Q at 1.)

        In November 2012, the parties jointly notified the Leach Court that the Science Panel had

completed its work and had found “probable links” between C8 exposure among Class Members

and: 1) kidney cancer; 2) testicular cancer; 3) thyroid disease; 4) ulcerative colitis; 5) diagnosed

high cholesterol (hypercholesterolemia); and 6) pregnancy-induced hypertension/preeclampsia




                                                   9
(the “Linked Diseases”).4 (Id. Ex. I.) Shortly thereafter, class-wide notice was approved by the

Leach Court and sent to the Leach Class Members notifying them of the “probable link”

findings, and advising that DuPont’s agreement to toll any applicable statutes of limitations

under the Leach Settlement would expire on January 28, 2013, for any of the Linked Disease

personal injury claims that the Class members were now, once again, free to “pursue.” (Id. Ex.

H.)

        After release of the final “probable link” reports, individual Leach Class Members began

filing new complaints in various state and federal courts in an effort to pursue final resolution of

the individual aspects of their previously stayed/reserved Linked Disease PI Claims. DuPont

promptly moved to consolidate all of those cases with one federal court to proceed as an MDL

on the grounds that the cases all “arise in the wake of” the Leach Settlement and assert “the same

core factual allegations regarding DuPont’s conduct” and “similar legal theories of liability,”

even though there may be “individual factual issues and defenses unique to each plaintiff.” (Id.

Ex. N at 3)5 In response, this MDL was created to coordinate resolution of the remaining

common issues by Order of the United States Judicial Panel on Multidistrict Litigation, entered

on April 9, 2013. (Id. Ex. O.)

        B.       The Parties Have Acknowledged That The Current MDL Proceedings Are
                 The Second Phase of the Leach Litigation Governed By The Leach
                 Settlement Terms.

        The parties have acknowledged that the current MDL proceedings are essentially the

“second phase” of the Leach litigation that was initiated against DuPont in West Virginia state


4
  Importantly, the Science Panel did not find a "Probable Link" to exist between C-8 exposure and many other
diseases.
5
  DuPont did not assert that final resolution of any of these newly-filed complaints of Leach Class Members through
such MDL proceedings still required resolution of any Common Issues that the Leach Court had originally certified
and had never released, dismissed, or decertified, which arguably would have divested the MDL court of jurisdiction
over any such Common Issues. See, e.g., Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817
(1976); Ackerman v. ExxonMobil, 734 F.3d 237 (4th Cir. 2013).


                                                        10
court over a decade ago, with many of the relevant facts and legal issues having been litigated

and resolved through several other related “Prior Actions” against DuPont involving C8. (See,

e.g., Transcript of the Proceedings of the Status Conf. of Sept. 12, 2013 (Doc. No. 54) at 7-15.)

As such, this Court has noted in its Orders that many of the legal and factual issues that normally

would have required extensive, coordinated litigation and determinations by this Court already

have been resolved. (See, e.g., Agreed Protective Order (Doc. No. 27) at 3-5; Case Mgmt. Order

(“CMO”) No. 2 (Doc. No. 30) at 2; Pretrial Order (“PTO”) No. 6 (Doc. No. 32) at 2 (“the prior

Leach and related litigation against DuPont involving C8 issues resulted in . . . resolution of

some legal issues”); (PTO No. 7 (Doc. No. 33) at 1-2; PTO No. 8 (Doc. No. 50) at 1-2;

Stipulation & Agreed Order Regarding Discovery & Use of Electronically Stored Info. (Doc. No.

65) at 1-2.) This Court encouraged the parties early in these MDL proceedings to identify the

nature and scope of such resolved issues, so as to avoid any unnecessary delay and expense in

addressing the remaining issues. (See, e.g., PTO No. 7 (Doc. No. 33) at 2 (“the Court urged the

parties to identify potential issues of law that are amenable to early resolution to avoid

unnecessary discovery.”)

       In response, counsel for the MDL Plaintiffs’ Steering Committee (the “PSC”) served a

short set of requests for admissions (“RFAs”) and proposed stipulations on DuPont on October 1,

2013, which were designed as an attempt to identify the resolved issues and clarify which issues

remained for resolution through this MDL. (Id. Ex. J.) Unfortunately, DuPont advised the PSC

on December 9, 2013, that it would not admit the basic facts set forth in the RFAs or agree to any

of the proposed stipulations. (Id. Ex. K.) After additional efforts by the PSC to secure such

admissions and stipulations from DuPont voluntarily, (Id. Ex. L), DuPont eventually revealed in

a letter to the PSC dated January 8, 2014, that it did not believe this was an “appropriate stage”




                                                 11
in this litigation to identify such issues and that DuPont would not be inclined to do so “without

further discovery efforts by both sides.” (Id. Ex. M at 3.) Thus, over the next several months, the

parties engaged in and completed an additional phase of discovery with respect to the initial

bellwether discovery cases. (See CMO 6 (Doc. No. 194.)6

                                            IV.      ARGUMENT

        Under the doctrine of collateral estoppel, “[w]hen an issue of fact or law is actually

litigated and determined by a valid and final judgment, and the determination is essential to the

judgment, the determination is conclusive in a subsequent action between the parties.”

Restatement (Second) of Judgments § 27 (1982). “It has come to be widely accepted that usually

little good and much harm can come from allowing a determined [party] to retry the same issues

in exhausting fashion against successive [parties].” McLaughlin v. Bradlee, 803 F.2d 1197, 1204

(D.C. Cir. 1986). District courts are granted “broad discretion to determine when [collateral

estoppel] should be applied.” Parklane Hosiery Co., Inc. v. Shore, 439 U.S. 322, 331 (1979).

        As stated supra, the Leach Class Members and DuPont mutually agreed more than nine

years ago that ultimate resolution of the “individual” aspects of any of their Conditionally

Released Claims that remained after conclusion of the Science Panel’s work would be governed

by the terms of the Leach Settlement. That settlement was approved through a final, non-

appealable Court Order binding on such parties in addition to being a binding written contract.

Under elementary principles of prior adjudication, judgments in properly entertained class

actions are binding on class members and defendants in subsequent litigation on any issue

actually litigated and to which a final determination has been made. Cooper v. Fed. Reserve

Bank of Richmond, 467 U.S. 867, 874 (1984); Barney v. Holzer Clinic, Ltd., 110 F.3d 1207, 1213

6
 As the Court is aware, DuPont later requested that the12 fact witness depositions that the PSC sought of DuPont
witnesses during this bellwether discovery period be postponed until after DuPont’s own bellwether case discovery
was complete, because DuPont's counsel was too busy.


                                                       12
n.10 (6th Cir. 1997) (citation omitted). To determine whether collateral estoppel, or issue

preclusion, applies, the Sixth Circuit has explained that a prior decision shall have preclusive

effect on an issue raised in a later case if the following conditions are met: “(1) the precise issue

raised in the present case must have been raised and actually litigated in the prior proceeding; (2)

determination of the issue must have been necessary to the outcome of the prior proceeding; (3)

the prior proceeding must have resulted in a final judgment on the merits; and (4) the party

against whom estoppel is sought must have had a full and fair opportunity to litigate the issue in

the prior proceeding.” Nat’l Satellite Sports, Inc. v. Eliadis, Inc., 253 F.3d 900, 908 (6th Cir.

2001) (citations omitted). 7

         If the prior proceeding was in state court, federal courts are required to give preclusive

effect to a state-court judgment only if the rendering state court would do the same. Gooch v.

Life Investors Ins. Co. of Am., 672 F.3d 402, 419 (6th Cir. 2012) (citation omitted). Under West

Virginia law, collateral estoppel will bar the relitigation of an issue if: (1) The issue previously

decided is identical to the one presented in the action in question; (2) there is a final adjudication

on the merits of the prior action; (3) the party against whom the doctrine is invoked was a party

or in privity with a party to a prior action; and (4) the party against whom the doctrine is raised

had a full and fair opportunity to litigate the issue in the prior action. State ex rel. McGraw v.

Johnson & Johnson, 226 W.Va. 677, 687-88 (2010).

         As set forth in section II supra, all of these factors are satisfied here. The parties resolved

class-wide Common Issues in the litigation through an agreed, written contract and settlement

agreement approved through an order entered by a West Virginia court. The terms of the

agreement were freely negotiated and approved through a final court order, entered in 2005, after

7
 Plaintiffs’ case involves mutuality of parties, therefore the additional elements required by Parklane Hosiery Co.,
Inc. v. Shore, 439 U.S. 322 (1979) are not applicable because they only apply to non-mutual offensive issue
preclusion.


                                                         13
full and fair opportunity for either party to object and/or appeal. As such, the terms, conditions

and all agreed-upon issues within the Final Order remain binding on these same parties for

purposes of this MDL.

        Also, the mere fact that the Leach case was settled prior to trial does not preclude the

application of estoppel doctrines, because the settlement was the result of an official court order,

as opposed to a mere contractual settlement. See Blakely v. U.S., 276 F.3d 853 (6th Cir. 2002);

Lindell v. Landis Corp. 401(k) Plan, 640 F. Supp.2d 11, 16 (D.D.C. 2009) (“[t]o have preclusive

effect, a court judgment must be rendered in some form; otherwise a settlement agreement on its

own is effective only as a contract.”). Additionally, an order approving a class action settlement

is not treated any differently than a judgment in an individual action and is entitled to the same

preclusive effect as a judgment after trial. See Barney v. Holzer Clinic, Ltd., 110 F.3d 1207, 1213

n.10 (6th Cir. 1997) (“The usual principles of . . . collateral estoppel (issue preclusion) apply in

class actions.”) (citing Cooper v. Fed. Reserve Bank of Richmond, 467 U.S. 867, 874 (1984));

Gooch, 672 F.3d at 418 (“A state judgment entered in a class action like any other judgment

entered in a state judicial proceeding, is presumptively entitled to full faith and credit . . . .”)

(citation and internal quotations omitted).

        DuPont’s refusal to admit to the most basic findings, facts, and issues that were agreed to

as part of the Leach Settlement is similar to attempts by the tobacco defendants to avoid being

collaterally bound by findings from class action proceedings in subsequent individual damage

cases. As discussed below, these attempts were rejected by numerous Florida state courts and

the Eleventh Circuit.

        In Engle v. Liggett Group, Inc., 945 So.2d 1246 (Fla. 2006), the Supreme Court of

Florida reversed, in part, a lower court decision that reversed a final judgment entered in a




                                                   14
smokers' class action lawsuit that sought damages against cigarette companies and industry

organizations for alleged smoking-related injuries. For the purposes of this case, the relevant

part of the decision involved the decertification of the class with the instruction to the lower

court that, notwithstanding decertification, the trial court’s rulings and findings from Phase I of

the class trial were to have res judicata8 effect on the individual class members’ subsequent

individual cases. Id. The court held that “the [Engle] Phase I common liability jury determined

general causation . . . , which leaves specific or individual causation . . . to be determined on an

individual basis. [D]efendants may defend against the establishment of individual causation, for

example, by proving that the disease at issue was the result of a genetic predisposition, exposure

to an occupational hazard, or something unrelated to the plaintiff’s addiction to smoking . . . .”

Phillip Morris v. Douglas, 110 So.3d 419, 428 (Fla. 2013) (citing Engle, 945 So.2d at 1254-55).

Therefore, for a plaintiff to prevail on a subsequent individual claim, he or she was required to

establish (i) membership in the class; (ii) individual causation; and (iii) damages. Id. at 430.

         On March 14, 2013, the Florida Supreme Court revisited this issue in a subsequent

individual smoker case, Phillip Morris v. Douglas, 110 S.3d 419, where the defendants

challenged the validity of the Engle decision. Id. The court rejected the defendants’ challenges

holding:

                 common class action liability findings had res judicata effect on individual
                  class plaintiffs' individual damages actions;
                 application of res judicata did not violate tobacco companies' due process
                  rights or constitute an arbitrary deprivation of tobacco companies'
                  property;
                 res judicata, rather than issue preclusion, applied to individual class action

8
 Some courts use the term res judicata as a collective term to describe claim preclusion and issue preclusion. As the
Eleventh Circuit explained, “[w]hether the Supreme Court of Florida calls the relevant doctrine issue preclusion,
claim preclusion, or something else, is no concern for us.” Walker v. R.J. Reynolds Tobacco Co., 734 F.3d 1278,
1289 (11th Cir. 2013). “State courts are free to attach such descriptive labels to litigations before them as they may
choose and to attribute to them such consequences as they think appropriate under state constitutions and laws,
subject to the requirements of the Constitution of the United States.” Id.


                                                         15
                 plaintiffs' damages claims; and
                judgment in phase I class action trial was a final judgment, for purposes of
                 res judicata effect.
Id. at 432.

          In reaching its decision, the Douglas court stated that its decision in Engle “allowing the

common liability findings to stand would serve no purpose and would in fact be obliterated if the

Engle defendants were permitted to relitigate matters pertaining to their conduct.” Id. at 429.

          By holding that the Phase I findings are entitled to “res judicata effect,” our
          decision in Engle allowed members of the decertified class to pick up litigation of
          the approved six causes of action right where the class left off—i.e., with the
          Engle defendants' common liability for those claims established. As we
          recognized in Engle, 945 So.2d at 1269, those individual damages actions would
          not revisit the aspects of the Engle claims resolved by the Phase I findings, but
          would focus only on the remaining individual aspects of the claims specific to
          each plaintiff.

Id. at 432 (emphasis added).

          The court also rejected the defendant’s claim that that the Engle judgment was not a final

judgment on the merits for purposes of res judicata, stating that “judgment is upon the merits

when it amounts to a declaration of the law as to the respective rights and duties of the parties

based upon the ultimate facts disclosed by the pleadings and evidence and upon which the right

of recovery depends, irrespective of formal, technical, or dilatory objections or contentions.” Id.

at 433.

          In a subsequent case, R.J. Reynolds challenged the Florida Supreme Court’s recent

decisions on these issues, arguing that the application of res judicata in later suits filed by

individual smokers violates its constitutional right to due process of law. Walker v. R.J. Reynolds

Tobacco Co., 734 F.3d 1278, 1280 (11th Cir. 2013). The Full Faith and Credit Act requires

federal courts to “give preclusive effect to a state court judgment to the same extent as would

courts of the state in which the judgment was entered” subject to due process limitations. Id. at



                                                   16
1286 (citations omitted). The Eleventh Circuit’s inquiry, therefore, was a narrow one: “whether

giving full faith and credit to the decision in Engle, as interpreted by Douglas, would arbitrarily

deprive R.J. Reynolds of its property without due process of law.” Id. at 1287 (citation omitted).

       The Eleventh Circuit rejected the tobacco company’s argument, stating that it “had a full

and fair opportunity to litigate the issues of common liability” and such “opportunity to be heard

is an essential requisite of due process of law in judicial proceedings.” Id. (citation omitted).

Specific issues were decided in the prior litigation and the Florida Supreme Court “made the

necessary findings when it explained that the approved findings from Phase I go to the

defendants’ underlying conduct which is common to all class members and will not change from

case to case and that the approved Phase I findings are specific enough to establish certain

elements of the plaintiffs’ claims.” Id. at 1289.

                                      V.      CONCLUSION

       In recognition of the relationship between the current MDL claims and the first phase of

the Leach Case and related Prior Actions, this Court first suggested over a year ago that the

parties try to voluntarily identify the nature and scope of the already-resolved issues. Despite

numerous good-faith attempts by the PSC to comply with this directive, DuPont has made clear

that it is unwilling to so do without first imposing additional expense and delay through more

discovery and litigation. This position is not only contrary to the letter and spirit of the

judicially-approved Leach Settlement, but it also conflicts with specific statements made by

DuPont’s lead trial counsel during the February 28, 2005 Fairness Hearing for that settlement.

At this hearing, DuPont’s counsel testified in support of the settlement agreement and the

agreed-upon findings saying that, “at the end of the day, DuPont is a science company and

believes in science, and we . . . want to put this issue to bed period . . . and we believe we can




                                                    17
through this impartial [Science] panel.” (Bilott Aff. Ex. W at 43.) As evidenced by this

statement and the court approved settlement, DuPont clearly manifested an intent to be

collaterally bound by the terms of the settlement and its current attempts to evade or distance

itself from the findings of the trial court should not be permitted. Most importantly, there are

some 70,000 innocent men, women, and children who drank water that was poisoned with C8.

Many of these individuals have contracted or have now died from potentially life-threatening

diseases, including cancer, as a result of DuPont’s actions and inactions. These plaintiffs, who

have been waiting for over twelve years for their day in court, are entitled to the most efficient

and timely resolution of their claims as possible.

        Therefore, in order to avoid any further unnecessary expense and delay, Plaintiffs

respectfully request, pursuant to either Civil Rules 56 or 16(c) and the terms of the Leach

Settlement and related Final Order, that this Court enter an Order clarifying that the following

matters/issues have been resolved/established for purposes of this “second phase” of the Leach

litigation, and that DuPont is barred from challenging/disputing any such matters/issues for any

purpose in these MDL proceedings9:

        1.       Any plaintiff in this MDL who is not listed on Attachment A and who has, for at
                 least one year prior to December 4, 2004, consumed water from any one or more
                 of the public or private drinking water sources listed in Attachment B is a Leach
                 “Class Member” within the meaning of the Leach Settlement. (Ex. D § 1.11, Ex.
                 E at 9-10, Ex. F, Ex. G, Ex. H, Ex. P.)

        2.       DuPont cannot dispute or challenge any Leach Class Member’s claim that such
                 Class Member’s Conditionally Released Claims were first filed against DuPont by
                 August 30, 2001, in a West Virginia state court, to be resolved under West
                 Virginia law. (Ex. A at 1, Ex. C at 1.)

        3.       DuPont cannot challenge or dispute that the Leach Court had jurisdiction to
                 resolve all aspects of each Leach Class Member’s Conditionally Released Claims
                 that were certified for class treatment by such court in 2002, as the time to

9
 All capitalized terms in the following numbered paragraphs shall have the same meaning as that set forth in the
Leach Settlement and Final Order.


                                                        18
      challenge and/or appeal any/all such jurisdiction has expired and/or DuPont has
      expressly waived any such challenge through its agreement to the Leach
      Settlement and Final Order and its acceptance of benefits thereunder, including
      Class Member releases and/or dismissals of such claims. (Ex. D §§ 1.23 & 3, Ex.
      E, Ex. I, Ex. Q.)

4.    DuPont shall be barred from asserting any defense to liability for a Leach Class
      Member’s non-released or dismissed Conditionally Released Claims that is
      common to all such Leach Class Member claims and is unrelated to either
      Specific Causation or damages. (Ex. C, Ex. D §§ 1 & 3, Ex. E § V.)

5.    Leach Class Members and DuPont shall be barred from disputing or challenging
      that the C8 Science Panel found Probable Links with each of the following
      Human Diseases: 1) Kidney cancer; 2) testicular cancer; 3) ulcerative colitis; 4)
      thyroid disease; 5) pregnancy-induced hypertension/preeclampsia; and 6)
      medically-diagnosed high cholesterol (hypercholesterolemia). (Ex. I at 3.)

6.    Leach Class Members and DuPont shall be barred from disputing or challenging
      General Causation with respect to any Leach Class Members’ Conditionally
      Released Claims in which kidney cancer, testicular cancer, thyroid disease,
      ulcerative colitis, pregnancy-induced hypertension/preeclampsia, or medically-
      diagnosed high cholesterol (hypercholesterolemia) is/are at issue. (Ex. D § 3, Ex.
      E § V, Ex. I at 3.)

7.    DuPont cannot challenge or dispute that each of the Probable Links found by the
      C8 Science Panel were found to exist among those Plaintiffs meeting the
      definition of Leach Class Member. (Ex. D §§ 1 & 3, Ex. E § V, Ex. I at 3, Ex. Q
      Ex. U at 7-8, Ex. W at 40-41.)

8.    DuPont shall be barred from asserting that any Plaintiff meeting the definition of
      Leach Class Member must demonstrate any additional proof of dose or exposure
      to C8 beyond that necessary to prove Leach Class Member status in order to
      prove any of their Conditionally Released Claims. (Id.)

9.    DuPont shall be barred from challenging or disputing the accuracy, validity, or
      admissibility of any of the work or data generated by or on behalf of the C8
      Science Panel or its agents that was funded by DuPont through the Leach
      Settlement, including but not limited to any actual or modeled C8 present, past, or
      historic, exposure and/or dose data for any Leach Class Member and any
      purported verification or confirmation by such persons of medical records
      confirming the diagnosis of a Human Disease in a Leach Class Member. (Ex. D
      §§ 1, 3, & 12, Ex. E § V, Ex. I at 3.)

10.   DuPont cannot challenge or dispute that the running of any statute of limitations
      applicable to any Leach Class Member’s Conditionally Released Claims was
      tolled between August 30, 2001, and January 28, 2013. (Ex. D § 6, Ex. H.)



                                      19
 Respectfully submitted,

 /s/ Michael A. London___
 Michael A. London
 Douglas & London, PC
 59 Maiden Lane, 6th Floor
 New York, NY 10038
 Telephone:212-566-7500
 Fax: 212-566-7501
 Email: mlondon@douglasandlondon.com

 Robert A. Bilott
 Taft, Stettinius & Hollister LLP
 425 Walnut St.
 Suite 1800
 Cincinnati, OH 45202-3957
 Telephone: 513-381-3828
 Fax: 513-381-0205
 Email: bilott@taftlaw.com

 Jon C. Conlin
 Cory Watson Crowder & DeGaris
 2131 Magnolia Ave., Suite 200
 Birmingham, AL 35205
 Telephone: 205-328-2200
 Fax: 205-324-7896
 Email: jconlin@cwcd.com

 Plaintiffs’ Steering Committee Co-Lead Counsel




20
